Case 0:21-cv-60278-RS Document 46 Entered on FLSD Docket 06/04/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 0:21-60278-RS

 YAMEL GONZALEZ,

        Plaintiff,
 vs.

 CHRISTAL TRANSPORT, LLC
 and ORALDO SOSA,

       Defendants.
 ___________________________/

                               JOINT NOTICE OF SETTLEMENT

        Plaintiffs, Yamel Gonzalez and opt-in plaintiffs Leiner Rodriguez and Jairo Michel Garcia
 (collectively referred to as “Plaintiffs”), and Defendants, Christal Transport, LLC and Oraldo Sosa
 (collectively referred to as “Defendants” and together with Plaintiffs, “the Parties”), respectfully
 submit this Joint Notice of Settlement, and inform the Court as follows:
        1.        The Parties have reached an agreement to resolve all claims against Defendants.
        2.        The Parties are in the process of finalizing a confidential settlement agreement and
 will be filing a joint motion to approve settlement and to dismiss the case with prejudice with the
 Court shortly.
        3.        There are currently no upcoming deadlines prior to the September 2021 discovery
 deadline.

 Respectfully submitted,

 BLACK LAW P.A.                                         BT LAW GROUP, PLLC
 Attorneys for Plaintiffs                               Attorneys for Defendants
 1401 E Broward Blvd. Suite 204                         3050 Biscayne Blvd., Ste. 205
 Fort Lauderdale FL 33301                               Miami, FL 33137
 ph-954.320.6220                                        ph-305.507.8506
       /s/ Cody Shilling
 By: _______________________                            By: _s/Anisley Tarragona_________
     KELSEY K. BLACK                                        ANISLEY TARRAGONA
     Florida Bar No. 078925                                 Florida Bar No. 51626
     kelsey@kkbpa.com                                       anisley@btattorneys.com


                                                   1
Case 0:21-cv-60278-RS Document 46 Entered on FLSD Docket 06/04/2021 Page 2 of 2




     CODY J. SHILLING                        JASON BERKOWITZ
     Florida Bar No. 1010112                 Florida Bar No. 55414
     cs@kkbpa.com                            jason@btattorneys.com




                                       2
